Case 2:23-cv-02291-BMS Document 20 Filed 04/11/24 Page 1 of 12

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

James Coppedge, sui juris

JAMES COPPEDGE,
Plaintiff CIVIL/CRIMINAL

ACTION NO. 23-2883

VS.

CITY OF PHILADELPHIA,

James J. Zwolak, Esq.

Attorney for the Defendant
Defendant,

Jury Trial: x Yes _ No

6O> OR GOD 602 GO? UO? 60? 402 60? 6OD

MOTION

NOTICE TO THE AGENT IS NOTICE TO THE PRINCIPAL
NOTICE TO THE PRINCIPAL IS NOTICE TO THE AGENT

A CONTEST OF UNLAWFUL DOUBLE BOOK ENTRIES

MOTION TO RE-OPEN CASE No.: 23-2883 AND TO
PROCEED INFORMA PAUPERIS

A supersede as Bond is posted (attached) for twice the value of filing in the Amount of
$1200.00 USD. This an Appeal from an Order of this Court to the US Court of Appeals for the
Third Circuit of Pennsylvania, pursuant to HJR-192 of June 5, 1933, PA Code under Title 13,
UCC § 3-603, UCC § 3-604, etc. This Appeal is in consideration of the U.S. Constitution Article
1, § 10.

Reference April 5, 1933, then President Franklin D. Roosevelt, ....See attachment.
Blocking credit goes against Public Policy of the United States. See the Fair Debt Collection
Act: Title 15 USCA SECTION 552 AND Title 18 USC SECTION 1702, 1708,1341,1343, 2510,
25112517 AND Postal violation and Mail Fraud Title 18 & 39.

This is a pre-paid account, pursuant to UCC 3-419. To disregard the law and bill under Article 1,
Section 10 amounts to theft of credit, pursuant to Title 18, Part 1, Chapter 42, Section 894, and
Chapter 44, Section 661, Extortion with Title 26, Section 7214 and the National Currency Act,
Section 27, 28,53 which is equal to Embezzlement Theft, UCC §3-603.

Please enter my appearance as James Coppedge, the Authorized Representative for the
CORPORTE ISSUE OF JAMES COPPEDGE, DEBTOR © Ens legis.

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Without prej ee ? o dy,
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J ames) Coppedee, ath
Auth rized Representative &
Secured:Party Creditor

clo 52 Barkley Ct

Dover, Uepare® near (19904)

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AFFIDAVIT OF INDIVIDUAL SURETY

: ; OMB No.: 9000-0001
(See instructions on reverse)

reporting burden for this collection of information is estimated to average 3 hours per response, including the time for reviewing instructions, searching existing data
gathering and maintaining the data needed, and completing and reviewing the collection of information. Send comments regarding this burden estimate or any other
‘5 collection of information, including suggestions for reducing this burden, to the Regulatory Secretariat (MVA}, Office of Acquisition Policy, GSA, Washington,

TATE OF
DELAWARE

Saunny Be ss.

KENT

* the ee being duly sworn, depose and say that | am: (1) the surety to the attached bondi{s); (2) a citizen of the United
a s; and of full age and legally competent. | also oe and say that, concerning any stocks or bonds included in the assets listed
2é.ow, that there are no restrictions on the resale of these securities pursuant to the registration provisions of Section 5 of the
ecurities Act of 1933. | recognize that statements contained herein concern a matter within the jurisdiction of an agency of the
ited States and the making of a false, fictitious or fraudulent statement may render the maker subject to prosecution under Title 18,
nited ae oo Sections 1001 and 494. This affidavit is made to induce the United States of America to accept me as surety on

We aitacne ond.

. NAME /First, Middle, Last} (Type or Print} 2. HOME ADDRESS (Number, Street, City, State, ZIP Code}
& JAMES COPPEDGE 52 BARKLEY COURT, DOVER, DE 19904
B/C # 156-44~328005
3 TYPE AND DURATION OF OCCUPATION 4. NAME AND ADDRESS OF EMPLOYER (if Self-employed, so State/

le Me US DISTRICT COURT FOR THE FASTERM DISTRICT OF PA
URETY/LIFETiME *

=. NAME AND ADDRESS OF INDIVIDUAL SURETY BROKER USED /#f any} 6. TELEPHONE NUMBER
‘Number, Street, City, State, ZIP Code)
Da HOME - N/A
EPOSITORY TRUST COMPANY --
55 WATER STREET, NEW YORK, NY 10041 BUSINESS '~ 174

2 HE FOLLOWING IS A TRUE REPRESENTATION OF THE ASSETS | HAVE PLEDGED TO THE UNITED STATES IN SUPPORT OF THE ATTACHED BOND:

a) Real estate (/nclude a legal description, street address and other identifying description; the market value; attach supporting certified documents
including recorded lien; evidence of title and the current tax assessment of the property. For market value approach, also provide a current appraisal. }

FILING FEE FOR CASE NUMBER: 220102380 for the CITY OF PHILADELPHIA IN THE AMOUNT
OF TWICE THE VALUE OF $600.00 = $1200.00 for the Appeal of Case No. 23~2883. The
i APPEAL TO THE COURT OF APPEALS IS IN REFERENCE TO Coppedge v. CITY OF PHILADELPHIA.
The APPEAL is in reference to Real Estate Tax and Water Tax, pursuant to HJR-192
@ The Filing Fees are to be process in the District Court of PHILADELPHIA, PA.19106

(b} Assets other than real estate (describe the assets, the details of the escrow account, and attach certified evidence thereof).

8 IDENTIFY ALL MORTGAGES, LIENS, JUDGEMENTS, OR ANY OTHER ENCUMBRANCES INVOLVING SUBJECT ASSETS INCLUDING REAL ESTATE TAXES DUE AND

PAYABLE. 3
le Unlawful Judgements liens are against 3637 N. 21St, 3742 N. 18th St, 3739 N. 18th St,
2113 W. Erie Ave all of 19140.

fiaw ALL BONDS. INCLUDING 8ID GUARANTEES, FOR WHICH THE SUBJECT ASSETS HAVE BEEN PLEDGED WITHIN 3 YEARS PRIOR TO THE DATE OF
EXECUTION OF THIS. ABFIQAVIT. '

6 OE81 761/746 a

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Oy : :
_f ere et AD -DOCUMENTATION OF THE PLEDGED ASSET MUST BE ATTACHED.
/ SIGNATURE = ‘ 5 f3. 11. BOND AND CONTRACT TO WHICH THIS AFFIDAVIT RELATES (Where
e { . oO. Teves Cop fener appropriate}
O 34) { .
| Piva eh Obey feria E81761746
i "+2 705 i.\\~ .:12. SUBSCRIBED AND SWORN TO BEFORE ME AS FOLLOWS:
f a, DATE‘OATH ADMINISTERED b. CITY AND STATE /Or other jurisdiction) |
We DAY YEAR '
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OG LOS / Lt eg Seal
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INSTRUCTIONS

1. Individual sureties on bonds executed in connection with Government contracts must complete é
submit this form with the bond, (See 48 CFR 28.203, 53.228(e).) The surety must have the comple’

form notarized.

2. No corporation, partnership, or other unincorporated association or firm, as such, is acceptable as
individual surety. Likewise, members of a partnership are not acceptable as sureties on bonds tha
partnership or an association, or any co-partner oF member thereof, is the principal obligor. Howe\
stockholders of corporate principals are acceptable provided (a) their qualifications are independent
their stockholdings or financial interest therein, and (b) that the fact is expressed in the affidavit
justification. An individual surety will not include any financial interest in assets connected with

principal on the bond that this affidavit supports.

3. United States citizenship is a requirement for individual sureties for contracts and bonds when
contract is awarded in the United States. However, when the Contracting Officer is located in
outlying area or a foreign country, the individual surety is only required to be a permanent resident of
area or country in which the contracting officer is located.

4. All signatures of the affidavit submitted must be originals. Affidavits bearing reproduced signatt
are not acceptable: An authorized person must sign the bond. Any person signing in a representa
capacity (e.g., an attorney-in-fact) must furnish evidence of authority if that representative is ne
member of a firm, partnership, or joint venture, or an officer of the corporation involved.

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STANDARD FORM 28 iREv. 6/20

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RELEASE OF PERSONAL PROPERTY FROM ESCROW

Whereas JAMES COPPEDGE ,of B/C # 154-44-328005 , by a bond

(Name) (Place of Residence)
for the performance of U.S. Government Contract Number 2201342201 ;

became a surety for the complete and successful performance of said contract, and Whereas said
surety has placed certain personal property in escrow

in Account Number CASE No. 23-2883 on deposit

at United States District Court for the Eastern District of PA
(Name of Financial Institution)

located at 601 MARKET STREET, PHILADELPHIA, PA 19106 -, and
(Address of Financial Institution)

Whereas !, james coppedge family of coppedge , being a duly authorized

representative of the United States government as a warranted contracting officer, have determined
that retention in escrow of the following property is no longer required to ensure further performance
of the said Government contract or satisfaction of claims arising therefrom:

see Standard Form 28 AFFIDAVIT OF INDIVIDUAL SURETY (attached)

and

Whereas the surety remains liable to the United States Government for the continued performance of
the said Government contract and satisfaction of claims pertaining thereto.

Now, therefore, this agreement witnesseth that the Government hereby releases from escrow the
property listed above, and directs the custodian of the aforementioned escrow account to deliver the
listed property to the surety. If the listed property comprises the whole of the property placed in
escrow in the aforementioned escrow account, the Government further directs the custodian to close
the account and to return all property therein to the surety, along with any interest accruing which
remains after the deduction of any fees lawfully owed to

United States District for the Eastern District of Pennsylvania

(Name of Financial Institution) }

[Date] [Signature]
O¢fos/ > ory Seal

AUTHORIZED FOR LOCAL REPRODUCTION Presctibed by GSA-FAR (48 CFR) 53.228(0)

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ATTACHMENTS

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Case ORTIED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

No. 23-2883

Coppedge V. City of Phi]

adelphia

For the Court,

S/ Patricia Ss.

Dodszuweit
Clerk

Dated: March 25, 2024
Cc: James Coppedge
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MEMORANDUM OF LAW

You Can Discharge Almost Any Debt with

Proper Use of the UCC — Strawmineus Homo - The Strawman

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You Can Discharge Almost Any Debt with Proper Use of the UCC

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VERIFICATION

|, the undersigned do certify that the following documents are true and correct and not misleading to
the best of my knowledge and understanding.

CERTIFICATION OF SERVICE

|, the undersigned, do certify that | cause the following documents: MOTION TO RE-OPEN CASE
NUMBER 23-2883 FOR UNLAWFUL DOUBLE BILLING to be served upon the following parties on this 8
day of APRIL, 2024 in the manner indicated below: Contents Motion, Copy of BONDS, MEMORANDUM
OF LAW.

By: Pre-paid first class mail:

Office of the Clerk

US DISTRICT COURT

FOR THE EASTERN DISTRICT OF originals
PENNSYLVANIA

601 MARKET ST, First Floor

PHILADELPHIA, PA 19106

By: Pre-paid first class mail:

CITY OF PHILADELPHIA/
DEPARTMENT OF REVENUE

ATTN: JAMES J. ZWOLAK, Esq. COPIES
MSB, LAW DEPT

1401 JFK BLVD, 5™ FL

PHILADELPHIA, PA 19102

By: Pre-paid first class mail:
COPIES
Office of the Clerk
US COURT OF APPEALS
601 MARKET STREET
PHILADELPHIA, PA 19106

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Sincerely,

ee Bina

By: Fase Coppedge, Lh

=f

UCC’ 1-207.4/1-308,3-419,

-103.6

All rights are explicitly reserved—
Non Pro Tunc
Authorized Representative,
Secured Party Creditor,
Attorney-In-Fact for
JAMES COPPEDGE,
DEBTOR © Ens legis
c/o 52 Barkley Ct
Dover, Delaware 19904
(302) 674-2535

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